     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 1 of 23 Page ID #:1




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13                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
14
15   NEIL FOX PAREKH pka SUNIEL FOX, an            Case No.:
     individual; and SHYHI HENRY HSAIO pka
16   HENRY STRANGE, an individual;                 COMPLAINT FOR:
17                                                   1. COPYRIGHT
     Plaintiffs,                                        INFRINGEMENT
18                                                   2. VICARIOUS AND/OR
19   v.                                                 CONTRIBUTORY
                                                        COPYRIGHT
20   ABEL MAKKONEN TESFAYE pka THE                      INFRINGEMENT
21   WEEKND, an individual; ADAM KING
     FEENEY pka FRANK DUKES, an                    Jury Trial Demanded
22   individual; NICOLAS ALFREDO JAAR pka
23   A.A.L., AGAINST ALL LOGIC, and/or
     NICO, an individual; THE WEEKND XO,
24   LLC; THE WEEKND XO US LLC; THE
25   WEEKND XO, INC.; THE WEEKND XO
     MUSIC, ULC; XO&CO., INC.;
26
     UNIVERSAL MUSIC CORPORATION;
27   UNIVERSAL MUSIC GROUP, INC.;
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                                       COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 2 of 23 Page ID #:2




 1
     UNIVERSAL MUSIC PUBLISHING, INC.,
     individually and dba UNIVERSAL MUSIC
 2   PUBLISHING GROUP; UMG
 3   RECORDINGS, INC.; REPUBLIC
     RECORDS, INC.; XO RECORDS LLC;
 4   KOBALT MUSIC PUBLISHING
 5   AMERICA, INC.; AMERICAN MUSIC
     RIGHTS ASSOCIATION, INC.; SONGS
 6   MUSIC PUBLISHING, LLC; NYAN KING
 7   MUSIC, INC.; MATTITUDE MUSIC, LLC;
     PEERMUSIC LTD.; PEERMUSIC III, LTD.;
 8   SONY MUSIC PUBLISHING LLC; EMI
 9   CONSORTIUM MUSIC PUBLISHING,
     LTD; HAL LEONARD LLC; HIPGNOSIS
10   SONGS GROUP, LLC; BROADCAST
11   MUSIC, INC.; ASCAP ENTERPRISES LLC;
     YOUTUBE ENTERTAINMENT STUDIOS,
12   INC.; APPLE INC., individually and dba
13   APPLE MUSIC; AMAZON, INC.,
     individually and dba AMAZON MUSIC;
14   VIMEO.COM, INC.; SPOTIFY USA, INC.;
15   and DOES 1 through 10,

16   Defendants.
17
18          Plaintiffs NEIL FOX PAREKH pka SUNIEL FOX (“FOX”) and SHYHI
19   HENRY HSAIO pka HENRY STRANGE (“STRANGE”) (collectively, “Plaintiffs”),
20   by and through counsel, hereby pray to this honorable Court for relief based on the
21   following:
22                              JURISDICTION AND VENUE
23          1.      This action arises under the Copyright Act of 1976, 17 U.S.C. § 101, et
24   seq.
25          2.      This Court has federal question jurisdiction under 28 U.S.C. §§ 1331,
26   1338(a)-(b).
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                                           COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 3 of 23 Page ID #:3




 1          3.     Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c) and
 2   1400(a) in that a substantial part of the acts and omissions giving rise to the claims
 3   occurred in this judicial district.
 4                                          PARTIES
 5          4.     FOX is an individual residing in Los Angeles, CA.
 6          5.     STRANGE is an individual residing in Los Angeles, CA.
 7          6.     Upon information and belief, Plaintiffs allege that Defendant ABEL
 8   MAKKONEN TESFAYE pka THE WEEKND (“THE WEEKND”) is an individual
 9   residing in Los Angeles, CA. THE WEEKND is credited as a co-author of “CALL
10   OUT MY NAME,” the allegedly infringing song at issue in this case, as well as a
11   producer of My Dear Melancholy, the Extended Play (“EP”) featuring CALL OUT
12   MY NAME.
13          7.     Upon information and belief, Plaintiffs allege that Defendant ADAM
14   KING FEENEY pka FRANK DUKES (“FRANK DUKES”) is an individual residing
15   in Los Angeles, CA. FRANK DUKES is credited as a co-author of CALL OUT MY
16   NAME and a producer of My Dear Melancholy.
17          8.     Upon information and belief, Plaintiffs allege that Defendant NICOLAS
18   ALFREDO JAAR pka A.A.L., AGAINST ALL LOGIC, and/or NICO (“JAAR”) is
19   an individual residing in New York, NY, and doing business in and with the state of
20   California, including in this judicial district. JAAR is credited as a co-author of
21   CALL OUT MY NAME.
22          9.     Upon information and belief, Plaintiffs allege that Defendant THE
23   WEEKND XO, LLC is a limited liability company organized and existing under the
24   laws of the state of Delaware, with its principal place of business located at 16000
25   Ventura Blvd., Suite 600, Encino, CA 91436. THE WEEKND is an owner of THE
26   WEEKND XO, LLC, which owns rights in sound recordings featuring the
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                                           COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 4 of 23 Page ID #:4




 1   performances of THE WEEKND, including CALL OUT MY NAME and My Dear
 2   Melancholy.
 3         10.     Upon information and belief, Plaintiffs allege that Defendant THE
 4   WEEKND XO US LLC is a limited liability company organized and existing under
 5   the laws of the state of Delaware. THE WEEKND XO US, LLC conducts business in
 6   Los Angeles, CA and/or this judicial district on behalf and/or in the interest of THE
 7   WEEKND. THE WEEKND is an owner of THE WEEKND XO US, LLC. Plaintiffs
 8   further allege that THE WEEKND XO US, LLC holds an ownership stake in the
 9   copyright(s) in and to CALL OUT MY NAME and My Dear Melancholy.
10         11.     Upon information and belief, Plaintiffs allege that Defendant THE
11   WEEKND XO, INC. is a corporation that conducts business in Los Angeles, CA
12   and/or this judicial district on behalf and/or in the interest of THE WEEKND. THE
13   WEEKND is an owner of THE WEEKND XO, INC. Plaintiffs further allege that
14   THE WEEKND XO, INC. holds an ownership stake in the copyright(s) in and to
15   CALL OUT MY NAME and My Dear Melancholy.
16         12.     Upon information and belief, Plaintiffs allege that Defendant THE
17   WEEKND XO MUSIC, ULC is an unlimited liability corporation that conducts
18   business in Los Angeles, CA and/or this judicial district on behalf and/or in the
19   interest of THE WEEKND. THE WEEKND is an owner of WEEKND XO MUSIC,
20   ULC. Plaintiffs further allege that WEEKND XO MUSIC, ULC holds an ownership
21   stake in the copyright(s) in and to CALL OUT MY NAME and My Dear
22   Melancholy.
23         13.     Upon information and belief, Plaintiffs allege that Defendant XO&CO.,
24   INC. is a corporation that conducts business in Los Angeles, CA and/or this judicial
25   district on behalf and/or in the interest of THE WEEKND. THE WEEKND is an
26   owner of XO&CO., INC. Plaintiffs further allege that XO&CO., INC. holds an
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                                          COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 5 of 23 Page ID #:5




 1   ownership stake in the copyright(s) in and to CALL OUT MY NAME and My Dear
 2   Melancholy.
 3         14.     Upon information and belief, Plaintiffs allege that Defendant
 4   UNIVERSAL MUSIC CORPORATION (“UMC”) is a corporation that maintains an
 5   office in Los Angeles, CA and conducts business in Los Angeles, CA and/or this
 6   judicial district. Plaintiffs further allege that UMC publishes and/or administers an
 7   interest in CALL OUT MY NAME and My Dear Melancholy.
 8         15.     Upon information and belief, Plaintiffs allege that Defendant
 9   UNIVERSAL MUSIC GROUP, INC. (“UNIVERSAL”) is a corporation organized
10   and existing under the laws of Delaware, with its principal place of business located
11   at 2220 Colorado Avenue, Santa Monica, CA 90404. Plaintiffs further allege that
12   UNIVERSAL produced and/or distributes CALL OUT MY NAME and My Dear
13   Melancholy. Plaintiffs further allege that UNIVERSAL owns in whole or in part,
14   and/or does business as, Defendants UMG RECORDINGS, INC. (“UMG
15   RECORINGS”), REPUBLIC RECORDS, INC. (“REPUBLIC”), and XO RECORDS
16   LLC (“XO RECORDS”).
17         16.     Upon information and belief, Plaintiffs allege that UMG RECORDINGS
18   is a subsidiary corporation of UNIVERSAL organized and existing under the laws of
19   the Delaware, with its principal place of business located at 2220 Colorado Avenue,
20   Santa Monica, CA 90404. Plaintiffs further allege that UMG RECORDINGS
21   distributes THE WEEKND’s recordings, including CALL OUT MY NAME and My
22   Dear Melancholy.
23         17.     Upon information and belief, Plaintiffs allege that REPUBLIC is a
24    subsidiary corporation of UNIVERSAL organized and existing under the laws of
25    New York. REPUBLIC has its principal places of business located at 1755
26    Broadway, New York, NY 10019; and 2220 Colorado Avenue, Santa Monica, CA
27    90404. Plaintiffs further allege that REPUBLIC distributes THE WEEKND’s
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                                          COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 6 of 23 Page ID #:6




 1    recordings, including CALL OUT MY NAME and My Dear Melancholy, and
 2    manufactured and markets the same.
 3         18.    Upon information and belief, Plaintiffs allege that XO RECORDS is a
 4   subsidiary limited liability company of UNIVERSAL organized and existing under
 5   the laws of Delaware, and distributed through REPUBLIC. XO RECORDS’s
 6   principal place of business is located at 16000 Ventura Blvd., Suite 600, Encino, CA
 7   91436. Plaintiffs further allege that XO RECORDS produced and distributes CALL
 8   OUT MY NAME and My Dear Melancholy.
 9         19.    Upon information and belief, Plaintiffs allege that Defendant
10   UNIVERSAL MUSIC PUBLISHING, INC. (“UMP”), individually and doing
11   business as UNIVERSAL MUSIC PUBLISHING GROUP (“UMPG”), is a
12   corporation organized and existing under the laws of California, with its principal
13   place of business located at 2100 Colorado Avenue, Santa Monica, CA 90404.
14   Plaintiffs further allege that UMP and UMPG publish and/or license CALL OUT MY
15   NAME and My Dear Melancholy.
16         20.    Upon information and belief, Plaintiffs allege that Defendant KOBALT
17   MUSIC PUBLISHING AMERICA, INC. (“KOBALT”) is a corporation organized
18   and existing under the laws of Delaware. KOBALT’s principal places of business are
19   located at 2 Gansevoort Street, 6th Floor, New York, NY 10014; and 8201 Beverly
20   Blvd., Suite 400, Los Angeles, CA 90048. Plaintiffs further allege that KOBALT
21   maintains an agent for service of process in California. Plaintiffs further allege that
22   KOBALT publishes or administers an interest (or interests) in, and/or licenses, CALL
23   OUT MY NAME and My Dear Melancholy.
24         21.    Upon information and belief, Plaintiffs allege that AMERICAN MUSIC
25   RIGHTS ASSOCIATION, INC. (“AMRA”) is a subsidiary corporation of KOBALT
26   organized and existing under the laws of Florida. AMRA’s principal place of
27   business is located at 2 Gansevoort Street, 6th Floor, New York, NY 10014. Plaintiffs
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                                           COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 7 of 23 Page ID #:7




 1   further allege that AMRA conducts business in Los Angeles, CA and/or this judicial
 2   district. Plaintiffs further allege that AMRA holds an ownership stake in and/or
 3   administers the copyright(s) in and to, publishes, and/or licenses CALL OUT MY
 4   NAME and My Dear Melancholy.
 5         22.    Upon information and belief, Plaintiffs allege that Defendant SONGS
 6   MUSIC PUBLISHING, LLC (“SMP”) is a limited liability company organized and
 7   existing under the laws of Delaware. SMP has its principal place of business at 307
 8   7th Avenue, Suite 2104, New York, NY 10001, and maintained (or maintains) an
 9   office in Los Angeles, CA. Plaintiffs further allege that SMP conducts business in,
10   and maintains an agent for service of process in, Los Angeles, CA and/or this judicial
11   district. Plaintiffs further allege that SMP publishes and/or administers an interest (or
12   interests) in CALL OUT MY NAME and My Dear Melancholy.
13         23.    Upon information and belief, Plaintiffs allege that Defendant NYAN
14   KING MUSIC, INC. (“NKMI”) is a corporation organized and existing under the
15   laws of New York, with its principal place of business located at 529 5th Avenue, 4th
16   Floor, New York, NY 10017. Plaintiffs further allege that NKMI conducts business
17   in Los Angeles, CA and/or this judicial district. Plaintiffs further allege that NKMI
18   holds an ownership stake in and/or administers the copyright(s) in and to, publishes,
19   and/or licenses CALL OUT MY NAME and My Dear Melancholy.
20         24.     Upon information and belief, Plaintiffs allege that Defendant
21   MATTITUDE MUSIC, LLC (“MATTITUDE”) is a limited liability company
22   organized and existing under the laws of Delaware. MATTITUDE has its principal
23   place of business at 304 Hudson Street, 7th Floor, New York, NY 10013. Plaintiffs
24   further allege that MATTITUDE conducts business in Los Angeles, CA and/or this
25   judicial district. Plaintiffs further allege that MATTITUDE holds an ownership stake
26   in and/or administers the copyright(s) in and to, publishes, and/or licenses CALL
27   OUT MY NAME and My Dear Melancholy.
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                                           COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 8 of 23 Page ID #:8




 1         25.    Upon information and belief, Plaintiffs allege that Defendant
 2   PEERMUSIC LTD. (“PML”) is a corporation organized and existing under the laws
 3   of New York, with its principal place of business located at 152 West 57th Street,
 4   10th Floor, New York, NY 10019. Plaintiffs further allege that PML conducts
 5   business in Los Angeles, CA and/or this judicial district. Plaintiffs further allege that
 6   PEERMUSIC holds an ownership stake in and/or administers the copyright(s) in and
 7   to, publishes, and/or licenses CALL OUT MY NAME and My Dear Melancholy.
 8         26.    Upon information and belief, Plaintiffs allege that Defendant
 9   PEERMUSIC III, LTD. (“PMIII”) is a corporation organized and existing under the
10   laws of Delaware, with its principal places of business at 152 West 57th Street, 10th
11   Floor, New York, NY 10019; and 901 West Alameda Avenue, Suite 108, Burbank,
12   CA 91506. Plaintiffs further allege that PMIII holds an ownership stake in and/or
13   administers the copyright(s) in and to, publishes, and/or licenses CALL OUT MY
14   NAME and My Dear Melancholy.
15         27.    Upon information and belief, Plaintiffs allege that Defendant SONY
16   MUSIC PUBLISHING LLC (“SONY) is a limited liability company organized and
17   existing under the laws of Delaware. SONY’s principal places of business are located
18   at 25 Madison Avenue, New York, NY 10010; and 10202 West Washington Blvd.,
19   Akio Morita Building, 5th Floor, Culver City, CA 90232. Plaintiffs further allege that
20   SONY holds an ownership stake in and/or administers the copyright(s) in and to,
21   publishes, and/or licenses CALL OUT MY NAME and My Dear Melancholy.
22         28.    Upon information and belief, Plaintiffs allege that Defendant “EMI
23   CONSORTIUM MUSIC PUBLISHING, LTD” (“EMI”) is a subsidiary corporation
24   of SONY organized and existing under the laws of New York, with its principal
25   places of business at 25 Madison Avenue, New York, NY 10010. Plaintiffs further
26   allege that EMI conducts business in Los Angeles, CA and/or this judicial district.
27   Plaintiffs further allege that EMI holds an ownership stake in and/or administers the
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                                           COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 9 of 23 Page ID #:9




 1   copyright(s) in and to, publishes, and/or licenses CALL OUT MY NAME and My
 2   Dear Melancholy.
 3         29.    Upon information and belief, Plaintiffs allege that Defendants HAL
 4   LEONARD LLC (“HAL LEONARD”) is a limited liability company organized and
 5   existing under the laws of Delaware, with its principal place of business located at
 6   7777 West Bluemound Road, Milwaukee, WI 94710. Plaintiffs further allege that
 7   HAL LEONARD maintains an agent for service of process in California, and
 8   conducts business in Los Angeles, CA and/or this judicial district. Plaintiffs further
 9   allege that HAL LEONARD holds an ownership stake in and/or administers the
10   copyright(s) in and to, publishes, and/or licenses CALL OUT MY NAME and My
11   Dear Melancholy.
12         30.    Upon information and belief, Plaintiffs allege that HIPGNOSIS SONGS
13   GROUP, LLC (“HIPGNOSIS”) is a limited liability company organized and existing
14   under the laws of Delaware. HIPGNOSIS’ principal place of business is located at
15   15503 Ventura Blvd., Suite 300, Encino, CA 91436. Plaintiffs further allege that
16   HIPGNOSIS holds an ownership stake in and/or administers the copyright(s) in and
17   to, publishes, and/or licenses CALL OUT MY NAME and My Dear Melancholy.
18         31.    Upon information and belief, Plaintiffs allege that BROADCAST
19   MUSIC, INC. (“BMI”) is a corporation organized and existing under the laws of
20   Delaware. BMI’s principal place of business is located at 10 Music Square East,
21   Nashville, TN 37203. Plaintiffs further allege that BMI maintains a registered agent
22   for service of process in California and conducts business in Los Angeles, CA and/or
23   this judicial district. Plaintiffs further allege that BMI holds an ownership stake in
24   and/or administers the copyright(s) in and to, publishes, and/or licenses CALL OUT
25   MY NAME and My Dear Melancholy.
26         32.    Upon information and belief, Plaintiffs allege that ASCAP
27   ENTERPRISES LLC (“ASCAP”) is a limited liability company organized and
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                                           COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 10 of 23 Page ID #:10




 1    existing under the laws of New York. ASCAP’s principal places of business are
 2    located at 250 West 57th Street, New York, NY 10107; and 7920 West Sunset
 3    Boulevard, Third Floor, Los Angeles, CA 90046. Plaintiffs further allege that
 4    ASCAP holds an ownership stake in and/or administers the copyright(s) in and to,
 5    publishes, and/or licenses CALL OUT MY NAME and My Dear Melancholy.
 6          33.   Upon information and belief, Plaintiffs allege that YOUTUBE
 7    ENTERTAINMENT STUDIOS, INC. (“YOUTUBE”) is a corporation organized and
 8    existing under the laws of Delaware. YOUTUBE’s principal place of business is
 9    located at 2901 Cherry Avenue, San Bruno, CA 94066. Plaintiffs further allege that
10    YOUTUBE streams CALL OUT MY NAME and My Dear Melancholy.
11          34.   Upon information and belief, Plaintiffs allege that APPLE INC.
12    (“APPLE”), individually and dba “APPLE MUSIC,” is a corporation organized and
13    existing under the laws of California. APPLE’s principal place of business is located
14    at One Apple Park Way, Cupertino, CA 95014. Plaintiffs further allege that APPLE
15    streams CALL OUT MY NAME and My Dear Melancholy.
16          35.   Upon information and belief, Plaintiffs allege that AMAZON, INC.
17    (“AMAZON”), individually and dba “AMAZON MUSIC,” is a corporation
18    organized and existing under the laws of Delaware. AMAZON’s principal place of
19    business is located at 1200 12th Avenue South, Suite 1200, Seattle, WA 98114.
20    Plaintiffs further allege that AMAZON maintains multiple offices in Los Angeles,
21    CA. Plaintiffs further allege that AMAZON streams CALL OUT MY NAME and My
22    Dear Melancholy.
23          36.   Upon information and belief, Plaintiffs allege that VIMEO.COM, INC.
24    (“VIMEO”) is a corporation organized and existing under the laws of Delaware.
25    VIMEO’s principal place of business is located at 555 West 18th Street, New York,
26    NY 10011. Plaintiffs further allege that VIMEO conducts business in Los Angeles,
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                                          COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 11 of 23 Page ID #:11




 1    CA and/or this judicial district. Plaintiffs further allege that VIMEO streams CALL
 2    OUT MY NAME and My Dear Melancholy.
 3          37.    Upon information and belief, Plaintiffs allege that SPOTIFY USA, INC.
 4    (“SPOTIFY”) is a corporation organized and existing under the laws of Delaware.
 5    SPOTIFY’s principal place of business is located at 4 World Trade Center, 150
 6    Greenwich Street, New York, NY 10007. Plaintiffs further allege that SPOTIFY
 7    maintains offices in Los Angeles, CA and/or conducts business in Los Angeles, CA
 8    and/or this judicial district. Plaintiffs further allege that SPOTIFY streams CALL
 9    OUT MY NAME and My Dear Melancholy.
10          38.    Upon information and belief, Plaintiffs allege that Defendants DOES 1
11    through 10 (“DOE Defendants”) (altogether with the individuals and entities listed
12    above, “Defendants”), are other parties not yet identified who have infringed
13    Plaintiffs’ copyrights. The true names, whether corporate, individual, or otherwise, of
14    DOE Defendants are presently unknown to Plaintiffs, who sue said DOE Defendants
15    by such fictitious names and will seek leave to amend this Complaint to show their
16    true names and capacities when the same have been ascertained.
17          39.    Upon information and belief, Plaintiffs allege that, at all relevant times,
18    each of the Defendants was the agent, affiliate, officer, director, manager, principal,
19    alter-ego, and/or employee of the remaining Defendants and was at all times acting
20    within the scope of such agency, affiliation, alter-ego relationship, and/or
21    employment; and actively participated in or subsequently ratified and/or adopted each
22    of the acts or conduct alleged, with full knowledge of all facts and circumstances,
23    including each violation of Plaintiffs’ rights and the damages to Plaintiffs
24    proximately caused thereby.
25        INFRINGEMENT OF PLAINTIFFS’ COPYRIGHTS IN “VIBEKING”
26          40.    Plaintiffs are sought-after composers, producers, and multi-
27    instrumentalists. Serving as Music Director, Music Programmer, and Disc Jockey
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                                           COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 12 of 23 Page ID #:12




 1    (“DJ”) for internationally renowned artists—including Drake, Kanye West, Lady
 2    Gaga, Lil Wayne, A$AP Rocky, Mike Posner, and Logic—Plaintiffs have garnered a
 3    reputation for a unique sound that combines electronica, ambience, pop, hip-hop,
 4    rock, and Rhythm & Blues (“R&B”) into songs that are at once atmospheric,
 5    emotional, and raw.
 6        A. Plaintiffs’ Creation of VIBEKING
 7          41.    Plaintiffs are the authors of “VIBEKING,” an original musical
 8    composition and sound recording registered with the United States Copyright Office
 9    under U.S. Copyright Reg. No. SR0000872910. VIBEKING was created in April
10    2015 and first published in or around April or May 2017.
11          42.    The atmospheric and melancholic sound of VIBEKING showcases
12    Plaintiffs’ characteristic production style. VIBEKING is in a 6/8 meter1 and has a
13    tempo of 118 Beats Per Minute (“BPM”). In a 6/8 meter, an eighth note occupies one
14    beat, and there are six beats in each bar. A 6/8 meter has a distinctive rhythmic
15    character and is less common in popular music than a 3/4 or 4/4 meter.
16          43.    VIBEKING is in the key of G minor.2 The chord progression used
17    throughout nearly the entirety of VIBEKING, including the hook,3 consists of
18
19
      1
       “Meter” defines the number of beats per bar. Meter determines the basic pulse and
20
      rhythm of a piece of music.
21
      2
        “Key” refers to the tonal center of a musical composition, and to the scale or series
22
      of pitches that create the melodic and harmonic material of the music. Whether a key
23    is “major” or “minor” is determined by the series of pitches in the scale.
24    3
        The “hook” is a term used in popular music for the signature melodic material of the
25    work by which the work is recognized. A “vocal hook” is usually the phrase in which
26
      the title lyrics are sung. An “instrumental hook” refers to a primary instrumental
      melody associated with the song, similar in function to a vocal hook.
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                                           COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 13 of 23 Page ID #:13




 1    repeated oscillation between the same two chords4: G minor 7 (“Gm7”), the minor i
 2    (one) chord, and C minor 7 (“Cm7”), the minor iv (four) chord. This minimalistic
 3    harmonic variation is a distinctive compositional element of VIBEKING.
 4            44.    The melody in VIBEKING’s instrumental hook, played on the lead
 5    guitar, consists of a four-bar phrase in which the chord Gm7 accompanies the hook
 6    melody scale degrees5 1-1-3-5, followed by the chord Cm7 accompanying the hook
 7    melody scale degree 4, according to the following melodic and harmonic rhythm6
 8    (transposed7 to the key of A minor for ease of reference, and including the scale
 9    degrees written above each note):
10
11
12
13
14
15
16
17
      4
       A “chord” is a simultaneous sounding of three or more tones. A series of chords is
18
      called a “chord progression.” The chordal accompaniment to a melody is called
19    “Harmony.”
20    5
        A “scale degree” describes the position within a musical scale of a particular
21    tone. For example, in a traditional seven-note C major scale (comprising C, D, E,
      F, G, A, and B), the first tone, C, is scale degree 1; the second tone, D, is scale
22
      degree 2; the third tone, E, is scale degree 3; etc.
23
      6
24
          “Harmonic rhythm” refers to the rhythm created by the rate of chord changes.
      7
25      Transposition is a process whereby a musical work or passage is changed from one
26
      key to another, but all of the musical properties—such as melody, harmony, and
      structure—remain intact.
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                                            COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 14 of 23 Page ID #:14




 1          45.    As shown above, the metric placement8 of the first note (scale degree 1),
 2    which is a sustained tone, occurs on beat one of the first bar of the melody; the
 3    second, third, and fourth notes (scale degrees 1, 3, and 5, in that order), which are
 4    eighth notes, occur on beats four, five, and six of the second bar of the melody; and
 5    the fifth note (scale degree 4), which is a sustained tone, occurs on beat one of the
 6    third bar of the melody. And the harmonic rhythm is two bars per chord: the minor i
 7    chord occurs on the downbeat of the first bar of the melody, and the minor iv chord
 8    occurs on the downbeat of the third bar of the melody.
 9          46.    This motif occurs ten times in total, accounting for approximately two
10    minutes and five seconds of VIBEKING.9
11        B. Defendants’ Access to VIBEKING
12          47.    Through their work as composers, producers, and multi-instrumentalists,
13    Plaintiffs have built an extensive rolodex of connections and relationships within the
14    music industry. One such connection is with an individual named ERIC WHITE pka
15    PNDA (“PNDA”). At all relevant times, PNDA has been THE WEEKND’s DJ and
16    playback engineer.
17          48.    Upon information and belief, Plaintiffs alleges that in or around April
18    2015, PNDA suggested to STRANGE that Plaintiffs send VIBEKING to PNDA, who
19    would then send VIBEKING to THE WEEKND for consideration. On April 27,
20    2015, Plaintiffs sent VIBEKING to PNDA, who confirmed receipt of the same. Since
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       “Metric placement” describes the location within a bar of a particular pitch. For
23    example, two pitches with the same metric placement would occur on the same
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      beat—such as beat 1, 2, 3, or 4—or subdivision of that beat.
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25      There are occasional variations within those ten occurrences, whereby the hook is
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      embellished with interim scale degrees on the sustained tones. “Embellishment”
      tones are less essential tones on rhythmically weak beats that emphasize the more
27    essential tones on stronger beats.
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                                            COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 15 of 23 Page ID #:15




 1    that time, Plaintiffs have sent other original compositions and sound recordings to
 2    THE WEEKND for consideration via PNDA.
 3          49.    On April 29, 2015, PNDA confirmed to STRANGE that THE
 4    WEEKND replied “shits fiiiire” to email correspondence containing VIBEKING, a
 5    comment suggesting that THE WEEKND liked, enjoyed, and/or thought highly of
 6    VIBEKING.
 7          50.    Similarly, on May 15, 2015, PNDA confirmed to STRANGE that THE
 8    WEEKND listened to VIBEKING and commented that “It’s fire,” again suggesting
 9    that THE WEEKND liked, enjoyed, and/or thought highly of VIBEKING.
10          51.    In or around mid-October 2016, PNDA wrote to STRANGE that “I sent
11    [THE WEEKND] that track u made a while ago. He listened and liked it. But
12    nothing ever happened.”
13          52.    Shortly thereafter, PNDA again wrote to STRANGE, stating “Just gonna
14    tell [THE WEEKND] that our production team wrote the track. Cool? Or u have
15    another idea? Just don’t wanna say ‘hey, [STRANGE] wrote this’ when he doesn’t
16    know u.” STRANGE responded to PNDA that “[THE WEEKND] knows me. Say
17    both. [STRANGE] with Ponytail you met on Drake tour. Who is part of our
18    production team.”
19          53.    Plaintiffs were never presented with a license or agreement permitting
20    Defendants’ use of VIBEKING, nor did Plaintiffs ever authorize or consent to
21    Defendants’ use of the same.
22       C. CALL OUT MY NAME’s Release
23          54.    On March 30, 2018, THE WEEKND released My Dear Melancholy, a
24    six-song EP. “CALL OUT MY NAME” is the EP’s single and first song. THE
25    WEEKND, FRANK DUKES, and JAAR are listed as co-authors of CALL OUT MY
26    NAME’s music.
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                                           COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 16 of 23 Page ID #:16




 1          55.        CALL OUT MY NAME was released to great commercial success.
 2    Physical copies, digital sales and downloads, and streaming of the My Dear
 3    Melancholy EP, as well as the CALL OUT MY NAME single, were and continue to
 4    be available. CALL OUT MY NAME has earned Platinum status in the United States
 5    for millions of unit sales, and garnered hundreds of millions of views on YOUTUBE
 6    alone (just one of the aforementioned streaming services).
 7          56.       True to its accompanying lyrics and the name of the EP on which it
 8    appears, CALL OUT MY NAME is atmospheric and melancholic. CALL OUT MY
 9    NAME is in a 6/8 meter and has a tempo of 134 BPM.
10          57.       CALL OUT MY NAME is in the key of D# minor. The chord
11    progression used throughout nearly the entirety of CALL OUT MY NAME,
12    including the hook, consists of repeated oscillation between the same two chords: D#
13    minor 7 (“D#m7”), the minor i (one) chord, and G# minor 7 (“G#m7”), the minor iv
14    (four) chord.
15          58.       The melody in CALL OUT MY NAME’s hook, sung by THE
16    WEEKND, consists of a four-bar phrase in which the chord D#m7 accompanies the
17    hook melody scale degrees 1-1-3-5, followed by the chord G#m7 accompanying the
18    hook melody scale degree 4, according to the following melodic and harmonic
19    rhythm (transposed to the key of A minor for ease of reference, and including the
20    scale degrees written above each note):
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                                             COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 17 of 23 Page ID #:17




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11          59.    As shown above, the metric placement of the second, third, and fourth
12    notes (scale degrees 1, 3, and 5, in that order) of CALL OUT MY NAME’s hook
13    melody, which are eighth notes, occur on beats four, five, and six of the second bar of
14    the above four-bar phrase; and the fifth note (scale degree 4) of the hook melody, a
15    sustained tone, occurs on beat one of the third bar of the above four-bar phrase. As is
16    also shown above, that motif is occasionally repeated in the background vocal. And
17    the harmonic rhythm is two bars per chord: the minor i chord occurs on the downbeat
18    of the first bar of the above four-bar phrase, and the minor iv chord occurs on the
19    downbeat of the third bar of the above four-bar phrase.
20          60. This motif occurs twelve times in total (nine times in the lead vocal, and
21     three times in the backup vocal) with occasional embellishments and lyrical
22     variations (e.g., “So call out my name,” “I want you to stay,” and “Girl, why can’t
23     you wait”), accounting for approximately 41 seconds of CALL OUT MY
24     NAME’s three minutes and 48 seconds.
25       D. CALL OUT MY NAME’s Similarity to VIBEKING
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                                           COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 18 of 23 Page ID #:18




 1          61.    VIBEKING and CALL OUT MY NAME contain quantitatively and
 2    qualitatively similar material in their respective lead guitar and vocal hooks,
 3    including melodic, harmonic, and rhythmic elements distinctive to VIBEKING.
 4          62.    Both works are in a minor key. Both works are in a 6/8 meter that is less
 5    common in popular music. Both works are played at a similar tempo. And both works
 6    use features of electronica, ambience, pop, hip-hop, rock, and R&B to achieve a
 7    particular atmospheric and melancholic sound.
 8          63.    All of the scale degrees in the VIBEKING hook melody are used in the
 9    CALL OUT MY NAME hook melody. The eighth note rhythm of the shared scale
10    degree series 1-3-5 is identical in both works. And the scale degree 4 that directly
11    follows that series is a sustained tone in both works.
12          64.    The metric placement of the shared scale degree series 1-3-5-4 is also
13    identical in both works. That is, scale degrees 1-3-5 occur on beats four, five, and six
14    of a bar, followed by scale degree 4 on the downbeat (beat one) of the next bar.
15          65.    The harmonies accompanying these scale degrees are also the same. In
16    both works, the minor i chord accompanies the hook melody scale degrees 1-1-3-5,
17    followed by the minor iv chord accompanying the hook melody scale degree 4.
18          66.    And the same minimalistic harmonic variation is present in both works.
19    In particular, the distinctive compositional element of repeated oscillation between
20    the same two chords—minor i and minor iv—features throughout nearly the entirety
21    of both works. And the harmonic rhythm of the respective hooks is the same: two
22    bars per chord, with each chord played on the downbeat (beat one) of the bar in
23    which it occurs.
24          67.    These similarities are on full display in the below comparison (with
25    VIBEKING transposed to the key of D# minor, the same key as CALL OUT MY
26    NAME, for ease of comparison). CALL OUT MY NAME is notated in the top
27    “vocal” staff, and VIBEKING is notated in the bottom “guitar” staff:
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                                           COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 19 of 23 Page ID #:19




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26          68.   Thus, following the creation and publication of VIBEKING and gaining
27    access to the same, Defendants, and each of them, included elements in the CALL
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                                         COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 20 of 23 Page ID #:20




 1    OUT MY NAME musical composition and sound recording that are strikingly and/or
 2    substantially similar, if not identical, to original elements from the VIBEKING
 3    musical composition and sound recording, without a license, authorization, or
 4    consent from Plaintiffs.
 5                               FIRST CLAIM FOR RELIEF
 6            (For Copyright Infringement – Against All Defendants, and Each)
 7           69.    Plaintiffs incorporate by reference the allegations contained in the
 8    preceding paragraphs of this Complaint.
 9           70.    Upon information and belief, Plaintiffs allege that Defendants had
10    access to VIBEKING, including because STRANGE sent VIBEKING to PNDA,
11    PNDA confirmed receipt of VIBEKING, PNDA confirmed that THE WEEKND
12    listened to and liked VIBEKING, and THE WEEKND confirmed the same; and
13    because Plaintiffs have, from time to time, sent original musical compositions and
14    sound recordings to THE WEEKND for consideration through PNDA. Plaintiffs
15    further allege that the original elements in VIBEKING that are reproduced in CALL
16    OUT MY NAME establish CALL OUT MY NAME’s striking similarity to, and thus
17    Defendants’ access to, VIBEKING.
18           71.    Upon information and belief, Plaintiffs allege that Defendants, and each
19    of them, copied, reproduced, published, distributed, transmitted, publicly performed,
20    licensed, created derivative works of, and/or otherwise used in CALL OUT MY
21    NAME the original elements of, and/or elements that are substantially similar to the
22    original elements of, VIBEKING without a license, authorization, or consent from
23    Plaintiffs.
24           72.    Due to Defendants’ (and each of their) acts of copyright infringement,
25    Plaintiffs have suffered damages in an amount to be established at trial.
26           73.    Due to Defendants’ (and each of their) acts of copyright infringement,
27    Defendants (and each of them) have obtained (and continue to obtain) profits from
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                                           COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 21 of 23 Page ID #:21




 1    the exploitation of CALL OUT MY NAME they would not have realized but for their
 2    infringement of Plaintiffs’ copyrights in and to VIBEKING. As such, Plaintiffs are
 3    entitled to disgorgement of Defendants’ (and each of their) profits attributable to the
 4    infringement of Plaintiffs’ copyrights in and to VIBEKING in an amount to be
 5    established at trial.
 6           74.    Upon information and belief, Plaintiffs allege that Defendants, and each
 7    of them, have committed copyright infringement with actual or constructive
 8    knowledge of, or have recklessly disregarded, Plaintiffs’ copyrights in and to
 9    VIBEKING, such that said acts of copyright infringement were, and continue to be,
10    willful, intentional, and malicious.
11                                  SECOND CLAIM FOR RELIEF
12       (For Vicarious and/or Contributory Copyright Infringement – Against All
13                                     Defendants, and Each)
14           75.    Plaintiffs incorporate by reference the allegations contained in the
15    preceding paragraphs of this Complaint.
16           76.    Upon information and belief, Plaintiffs allege that Defendants, and each
17    of them, knowingly induced, participated in, aided, abetted, and/or profited from the
18    unauthorized copying, reproduction, publication, distribution, transmission, public
19    performance, licensing, creation of derivative works of, and/or any other use in
20    CALL OUT MY NAME of the original elements of, and/or elements that are
21    substantially similar to the original elements of, VIBEKING.
22           77.    Upon information and belief, Plaintiffs allege that Defendants, and each
23    of them, had the right and ability to supervise the creation and exploitation of CALL
24    OUT MY NAME and/or had a direct financial interest in the same.
25           78.    Due to Defendants’ (and each of their) acts of vicarious and/or
26    contributory copyright infringement, Plaintiffs have suffered damages in an amount
27    to be established at trial.
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                                             COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 22 of 23 Page ID #:22




 1          79.      Due to Defendants’ (and each of their) acts of vicarious and/or
 2    contributory copyright infringement, Defendants (and each of them) have obtained
 3    (and continue to obtain) profits from the exploitation of CALL OUT MY NAME
 4    they would not have realized but for their infringement of Plaintiffs’ copyrights in
 5    and to VIBEKING. As such, Plaintiffs are entitled to disgorgement of Defendants’
 6    (and each of their) profits attributable to the infringement of Plaintiffs’ copyrights in
 7    and to VIBEKING in an amount to be established at trial.
 8          80.      Upon information and belief, Plaintiffs allege that Defendants, and each
 9    of them, have committed vicarious and/or contributory copyright infringement with
10    actual or constructive knowledge of, or have recklessly disregarded, Plaintiffs’
11    copyrights in and to VIBEKING, such that said acts of copyright infringement were,
12    and continue to be, willful, intentional, and malicious.
13                                   PRAYER FOR RELIEF
14          WHEREFORE, Plaintiffs prays for judgment as follows:
15                a. That Defendants, and each of them, have directly and/or secondarily
16                   infringed Plaintiffs’ copyrights in and to VIBEKING through the
17                   unauthorized creation and exploitation of CALL OUT MY NAME.
18                b. That Defendants, and each of them, their respective agents, and anyone
19                   else working in concert with Defendants and/or their agents, be enjoined
20                   from copying, reproducing, publishing, distributing, transmitting,
21                   publicly performing, licensing, creating derivative works of, and/or
22                   otherwise using VIBEKING’s original elements, and/or any work
23                   containing elements that are strikingly or substantially similar thereto,
24                   without a license, authorization, or consent from Plaintiffs.
25                c. That a constructive trust be entered over any and all materials (e.g.,
26                   sound recordings, video reproductions, etc.) used in connection with
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                                             COMPLAINT
     Case 2:21-cv-07488-FLA-KES Document 1 Filed 09/17/21 Page 23 of 23 Page ID #:23




 1                the creation and exploitation of CALL OUT MY NAME, and all
 2                revenues and profits resulting therefrom, for the benefit of Plaintiffs;
 3             d. That Plaintiffs be awarded all Defendants’ (and each of their) profits,
 4                plus all Plaintiffs’ losses, the exact sum to be proven at trial;
 5             e. That Plaintiffs be awarded pre-judgment interest as permitted by law;
 6             f. That Plaintiffs be awarded the costs of this action; and
 7             g. That Plaintiffs be awarded such further legal and equitable relief as
 8                this Court deems proper.
 9          Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
10    38 and the 7th Amendment to the United States Constitution.
11
12    Dated: September 17, 2021                     DONIGER/BURROUGHS
13                                           By:    /s/ Stephen M. Doniger
14
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17                                                  Attorney for Plaintiff
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